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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   WARNER RECORDS INC., et al.,

          Plaintiffs,

   v.
                                             Case No. 1:19-cv-00874-RBJ-MEH
   CHARTER COMMUNICATIONS, INC.,

          Defendant.




          DEFENDANT CHARTER COMMUNICATIONS, INC.’S OPPOSITION TO
        PLAINTIFFS’ MOTION TO DENY WAYNE COLEMAN’S DESIGNATION AS A
                QUALIFIED PERSON UNDER THE PROTECTIVE ORDER




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                                            INTRODUCTION

          Plaintiffs’ objections to Wayne Coleman’s designation as a “Qualified Person” have no

   basis in fact or law. Plaintiffs improperly presume that Mr. Coleman has no regard for the

   Protective Order in this case or his professional, contractual, and ethical obligations, and the

   grounds set forth in Plaintiffs’ motion are based on manufactured risks that simply do not exist.

          Mr. Coleman is one of the most experienced royalty auditors in the country, having

   conducted thousands of royalty audits over nearly 50 years on behalf of music companies and

   artists alike to assess the extent to which artists have been underpaid pursuant to their agreements.

   Plaintiffs speculate that should Mr. Coleman be provided access to confidential agreements in this

   case, he may disregard the Protective Order and his professional obligations in his various

   engagements for an unknown benefit to “recruit” potential class members in another case, though

   he has never served as a “recruiter” for class actions, and no such risk exists here. Plaintiffs further

   suggest that Mr. Coleman would use information gained in this case to enhance his audits and as

   an attempt to drum up new royalty audit clients. Not only is that again baseless speculation, but

   viewing agreements themselves will reveal nothing about whether payments were properly paid

   to artists in accordance with those agreements—which is what royalty audits are based upon.

          Even if Plaintiffs had any legitimate concerns about Mr. Coleman’s engagement, Plaintiffs

   fail to satisfy their burden of demonstrating that his access to materials here would cause Plaintiffs

   the “risk of serious harm.” Plaintiffs attempt to stretch the standards for qualifying experts and

   any threat of “serious harm” beyond all reason and recognition in seeking to preclude Charter from

   engaging a qualified expert, and thereby seeking to block Charter from meaningfully defending

   itself from Plaintiffs’ astronomical claims.

          Plaintiffs’ objections are entirely unfounded and their Motion should be denied.



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                                       FACTUAL BACKGROUND

           During the relevant time period, Charter was an internet service provider (“ISP”) that

   provided a high speed internet service through which its subscribers had the freedom to access the

   internet as they chose. Plaintiffs are multi-billion-dollar music conglomerates that represent over

   60 of the largest record companies and music publishers in the world.1 In this case, Plaintiffs

   allege Charter’s subscribers have infringed 11,027 of their copyrighted works by sharing them on

   peer-to-peer (“P2P”) networks, like BitTorrent.            Plaintiffs seek windfall damages against

   Charter—seeking maximum statutory damages in the amount of $150,000 per work, which

   amounts here to potential damages in excess of $1.6 billion.

           Plaintiffs did not elect to sue Charter’s subscribers on the accounts through which the

   allegedly infringing activity occurred, nor did Plaintiffs sue those who build and host the P2P

   networks on which Plaintiffs claim all the allegedly infringing activity occurred. Plaintiffs have

   instead sued Charter, an ISP.

           Should Plaintiffs establish liability, the jury may be instructed to consider a host of factors,

   including, as relevant here, Plaintiffs’ actual damages from the alleged infringement and the

   relative value of the copyrights in suit, which are relevant even to claims of statutory damages. In

   order to aid the jury’s consideration of these and related issues, Charter sought Plaintiffs’ artist

   revenues, artist agreements, and agreements with third-party platforms like Spotify and Apple, the

   latter of which the court in UMG Recordings, Inc. et al. v. Bright House Networks, LLC, Case No.



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     Indeed, it was recently reported that the “big three” labels (Plaintiffs here) made approximately $22.9
   million every 24 hours from streaming in 2019, “roughly $953,000 every hour, until the fourth fiscal quarter
   when profits soared even higher, with Universal cracking over $1 billion, and the combined “big three”
   labels making $1.03 million an hour.” See Michael Broerman, Report: Major Labels Make $1 Million An
   Hour From Streaming, Live for Live Music (Feb. 27, 2020), available at
   https://liveforlivemusic.com/news/major-labels-streaming/


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   8:19-cv-00710-MSS-TGW (M.D. Fla.) (“Bright House”) ordered Plaintiffs to produce.2 Plaintiffs

   have begun to produce these documents, which they have uniformly designated as Highly

   Confidential—Attorneys’ Eyes Only (“HC-AEO”), pursuant to the Protective Order.

          In order to aid Charter’s review of these documents, Charter retained Mr. Coleman. Mr.

   Coleman has nearly 50 years of experience performing royalty audits on behalf of both music

   companies and artists. See Affidavit of Wayne Coleman (“Coleman Aff.”), ¶¶ 2-7. Mr. Coleman

   has also testified numerous times. Id., ¶ 7. He has never been accused or found to have violated

   any protective order, a non-disclosure agreement, or any other contractual, professional or ethical

   obligations in connection with his decades of work. Id., ¶ 8.

          On June 26, 2020, pursuant to Section 5(a)(iii) of the Protective Order, Charter notified

   Plaintiffs that Mr. Coleman is an “actual or potential independent expert[] or consultant[]” who

   had signed the Protective Order and, therefore, a “Qualified Person” to whom Charter intended to

   provide documents Plaintiffs designated HC-AEO. See Declaration of Erin Ranahan (“Ranahan

   Decl.”), Ex. 1 at 5. On June 30, 2020, Plaintiffs requested that Charter disclose “the subjects on

   which Mr. Coleman would consult or opine, and the categories of materials to which he would

   need access for that purpose.” Id. at 4. Charter responded that its disclosure of Mr. Coleman

   related only to the provision of documents designated HC-AEO to Mr. Coleman, which is distinct

   from the scope of his proposed expert testimony. Id. at 3. On July 2, 2020, Plaintiffs formally

   objected to Charter’s disclosure of Mr. Coleman as a “Qualified Person.” Id. at 1.

          On July 20, 2020, Charter proposed a compromise to Plaintiffs, which Charter believed

   would resolve Plaintiffs’ objections. Ranahan Decl., Ex. 2 at 4. Specifically, and in direct response



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    The documents were ordered to be produced in Bright House over Plaintiffs’ strenuous objections. See
   Ranahan Decl., Ex. 3 (Bright House Jan. 8, 2020 Hr’g Tr.) at 105:13-123:9. These documents are deemed
   produced in this case as well.

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   to the objections Plaintiffs assert in their Motion, Charter proposed that (1) Mr. Coleman would

   explicitly agree not to “recruit” potential class members for the class actions Plaintiffs reference

   in their Motion, and (2) Charter would agree to allow Plaintiffs to redact identifying information

   from agreements for any artists in which Mr. Coleman is currently engaged in audits, to the extent

   Mr. Coleman was not otherwise provided copies of those agreements, through the conclusion of

   such audits. Id.

           On July 21, 2020, the parties discussed Charter’s proposal. Ranahan Decl., ¶ 8. Plaintiffs

   stated that they would consider Charter’s proposal that Mr. Coleman agree not to “recruit”

   potential class members and not provide any information he learns in this case to the class

   plaintiffs’ counsel. Id. However, Plaintiffs stated that Charter’s proposal did not address their

   other concern, which is that Mr. Coleman would use information gained in this case to recruit new

   clients for other royalty audits adverse to Plaintiffs. Id. Charter’s counsel responded that

   Plaintiffs’ concern was unclear and unfounded, and was not meaningfully addressed in Plaintiffs’

   Motion. Id. Following the meet and confer, Plaintiffs’ counsel responded in writing, reiterating

   their positions with respect to Charter’s proposal. Id.; see also id. Ex. 2 at 3.

           On July 23, 2020, Plaintiffs made a counterproposal. See id., Ex. 2 at 1-2. Charter

   responded on July 27, 2020, stating that Plaintiffs’ counterproposal went far beyond what the

   parties had discussed. Charter reiterated that Mr. Coleman “would sign an addendum to agree not

   to solicit class members or solicit new audit customers based on his engagement, and would abide

   by the Protective Order.” Id. at 1. Charter further stated that Plaintiffs’ proposal “appears to limit

   the scope of [Mr. Coleman’s] testimony and prevent him from testifying from his knowledge and

   experience, which is inappropriate.” Id. Charter’s counsel offered to set up a further meet and

   confer call with Plaintiffs. Id. As of the date of this filing, Plaintiffs have not responded. Id., ¶ 9.



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                                         LEGAL STANDARD

          The Protective Order provides that a party may, in good faith, object to the designation of

   “an actual or potential independent expert or consultant as a Qualified Person” and bears the

   “burden of demonstrating that disclosure to the disputed expert or consultant would expose the

   objecting party to risk of serious harm.” ECF 63 (Protective Order), § 14(b).

          The Protective Order does not define “risk of serious harm,” though courts generally find

   such a risk exists where the producing and receiving parties are direct competitors, the information

   in question is competitively sensitive, and the proposed expert has an ongoing consulting

   relationship with the receiving party. See, e.g., Applied Films GmbH & Co. KG v. Galileo Vacuum

   Sys., Inc., No. 1:05-CV-2056-RWS, 2006 WL 8432703, at *2 (N.D. Ga. June 26, 2006) (denying

   objection because proposed experts did not “maintain ongoing consulting relationships with

   Plaintiff or Defendants’ other competitors”); Amoco Corp. v. Exxon Chem. Corp., No. CIV. A.

   C87-242A, 1987 WL 60204, at *5 (N.D. Ga. Sept. 17, 1987) (denying objection even where

   proposed expert was “a consultant and technical director, as well as the immediate past president

   and general manager, for … an actual or potential competitor of plaintiff”); U.S. Gypsum v.

   Lafarge N. Am., Inc., No. 03C6027, 2004 WL 816770, at *1 (N.D. Ill. Mar. 2, 2004) (objecting

   party bears the burden to show risk of suffering an unfair competitive disadvantage). A “party

   cannot rely solely upon conclusory statements, but must present evidence of specific damage likely

   to result ….” BASF Corp. v. United States, 321 F. Supp. 2d 1373, 1378 (2004) (addressing the

   risk of serious harm in the context of trade secrets) (citation omitted); see also Streck, Inc. v.

   Research & Diagnostic Sys., Inc., 250 F.R.D. 426, 430 (D. Neb. 2008).




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                                               ARGUMENT

      I.      Plaintiffs’ Objections Are Unfounded

           Plaintiffs’ objections to Mr. Coleman’s designation as a “Qualified Person” lack any merit.

   Plaintiffs’ objections are all premised on the theory that in order to drum up business, Mr. Coleman

   would willfully violate the Protective Order, his non-disclosure agreements, and all professional

   and ethical considerations. Plaintiffs provide nothing specific to justify this baseless theory,

   despite the Protective Order’s requirement that all objections be made in “good faith.” For the

   reasons set forth below, Plaintiffs’ Motion should be denied.

      a. Mr. Coleman poses no competitive threat to Plaintiffs.

           Unlike the proposed experts in the cases upon which Plaintiffs rely, Mr. Coleman poses no

   competitive threat to Plaintiffs. The cases Plaintiffs cite, (Mot. at 6), confirm that the true “risk of

   serious harm” is where the disclosure of such information may reasonably make its way into the

   hands of a competitor. See, e.g., Digital Equip. Corp. v. Micro Tech., Inc., 142 F.R.D. 488, 492

   (D. Colo. 1992) (expert “has an ongoing relationship with [defendant] separate and apart from his

   consulting work in connection with this case … The fact that he has a continuing nexus to an

   important aspect of [defendant’s] business precludes him from being categorized as an

   ‘independent expert’ within the meaning of the protective order or under the caselaw.”) (emphasis

   added); F.T.C. v. Exxon Corp., 636 F.2d 1336, 1349-50 (D.C. Cir. 1980) (barring of Exxon’s in-

   house counsel from confidential, competitively sensitive information belonging to an Exxon

   competitor.); Symantec Corp. v. Acronis Corp., No. 11-5310 EMC JSC, 2012 WL 3582974, at *3

   (N.D. Cal. Aug. 20, 2012) (barring a non-testifying consultant who actively consults with

   proponent’s competitors); BASF Corp. v. United States, 321 F. Supp. 2d at 1378 (precluding

   provision of sensitive material where the parties’ manufacturing processes overlapped, and there



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   was the possibility that disclosure to the expert might “improve [direct competitor] Huntsman’s

   competitive position in the marketplace”).

          But Mr. Coleman is not a competitor of Plaintiffs nor does he have ongoing consulting

   relationships with Plaintiffs’ competitors. As such, Plaintiffs cannot satisfy the standard of

   establishing that they face a genuine risk of serious harm through Mr. Coleman’s engagement as

   a Qualified Person in this case.

          Indeed, Plaintiffs are themselves competitors in the marketplace: Warner Music Group,

   Sony Music Entertainment, and Universal Music Group are the “big three” music companies and

   constantly vie for the same artists and dominant market share. Notably, Plaintiffs do not state that

   any of the purportedly sensitive information Charter intends to provide Mr. Coleman would

   somehow get, for example, from Sony Music Entertainment to Warner Music Group or Universal

   Music Group. It would not, of course, as the Protective Order precludes these materials from being

   reviewed by anyone but outside counsel and independent experts and consultants.

          The paradigmatic scenario present in the cases upon which Plaintiffs rely is simply not at

   play here. Charter and Plaintiffs are not competitors. None of Plaintiffs’ information is of any use

   to Charter other than to defend against this case, and the disclosure of it to Charter would not affect

   Plaintiffs’ competitive standing. See Exxon Corp., 636 F.2d at 1349; BASF Corp., 321 F. Supp.

   2d at 1380–81.

          Further, Mr. Coleman has neither worked for nor does he have an ongoing consulting

   relationship with Charter or any other ISP. Thus, there is no risk that information produced by

   Plaintiffs will harm Plaintiffs’ competitive standing. See Digital Equip. Corp., 142 F.R.D. at 492;

   Symantec Corp., No. 11-5310 EMC JSC, 2012 WL 3582974, at *3. Plaintiffs’ authorities are

   inapposite.



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         b. Plaintiffs have no basis to presume Mr. Coleman will “recruit” for class actions.

             To date, Mr. Coleman has served in a limited and informal role in connection with putative

   class actions.3 Coleman Aff., ¶ 11. Mr. Coleman participated in a conference call between class

   plaintiffs’ counsel and defendants’ counsel during which the parties discussed information

   management issues, given Mr. Coleman’s familiarity with how the record labels and music

   publishers store information. Id. Mr. Coleman was not hired to “recruit” class members, has never

   performed that role, and has no intention of doing so going forward. Id., ¶ 12. In order to alleviate

   Plaintiffs’ concerns, Mr. Coleman has offered to explicitly agree not to “recruit” potential class

   members or otherwise provide any information gained in this case to the class plaintiffs’ counsel.

             While Charter’s proposal obviates Plaintiffs’ objection, the Court should overrule

   Plaintiffs’ objection in the first instance because it is precisely the type of speculation courts

   routinely reject. BASF, 321 F. Supp. 2d at 1378 (“[P]arty cannot rely solely upon conclusory

   statements, but must present evidence of specific damage likely to result ….”). Indeed, Plaintiffs

   do not even attempt to articulate how or why they believe Mr. Coleman will serve in this role.

             Further, Plaintiffs’ articulated “risk” is that more artists will join class actions that attempt

   to remedy what those artists view as systematic underpayment by the major record companies and

   music publishers. Plaintiffs can rest assured that this risk exists independent of this case or Mr.

   Coleman’s retention—as it stems from the scale of Plaintiffs’ alleged mistreatment of artists. Mr.

   Coleman intends to abide by the Protective Order, and whatever other covenants may be deemed

   appropriate. Plaintiffs’ attempt to use their own alleged wrongdoing against a class of plaintiffs

   to block Charter from asserting a fulsome defense in this case is improper and unprecedented, and

   should not be permitted.



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       Notably, Plaintiffs do not even identify these putative class actions in their Motion.

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       c. Plaintiffs have no basis to presume Mr. Coleman will utilize information obtained in
          this case in connection with audits.

           Although not expressly stated in their Motion, Plaintiffs suggested during the parties’ meet-

    and-confer that Mr. Coleman will utilize information obtained in this case to “recruit” new clients

    for royalty audits. For the same reasons discussed above, Plaintiffs have no basis to assume Mr.

    Coleman will violate the Protective Order. Plaintiffs’ conclusory objection should be rejected on

    this basis alone. BASF, 321 F. Supp. 2d at 1378.

           Moreover, Plaintiffs have no basis to assume that Mr. Coleman simply looking at or

    analyzing agreements will somehow reveal new potential audit clients—which would deal with

    the actual output and payments under the agreements, not the structure of the agreements

    themselves. Plaintiffs do not explain how the provision of any agreement in this case would spur

    Mr. Coleman to recruit new clients. Mr. Coleman has represented thousands of artists over his

    nearly 50-year career. He knows who his clients have been. The agreement does not tell Mr.

    Coleman the extent to which Plaintiffs have underpaid the artist. Only Plaintiffs’ specific payment

    records to artists would show that. And if Mr. Coleman wanted new clients and to determine

    whether underpayment had occurred, all he would need to do is go to Plaintiffs’ websites and

    peruse their artists’ lists—which are publicly available information. Coleman Aff., ¶¶ 13-14.

    Therefore, the provision of artist agreements alone discloses nothing to Mr. Coleman that would

    pose a serious risk of harm to Plaintiffs.

           Plaintiffs also argue that the provision of their agreements with third-party platforms like

    Apple and Spotify, which they claim Mr. Coleman does not routinely receive in connection with

    royalty audits, could somehow pose them competitive harm. Plaintiffs do not explain how. They

    simply state that these agreements are not something he receives in the normal course of royalty

    audits. Mot. at 5. Not only do Plaintiffs again provide no basis for their belief that Mr. Coleman


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    would violate the Protective Order, Plaintiffs provide no explanation as to how information

    contained in these third-party agreements would somehow harm them competitively.

           Any competitive risk would come from Sony Music Entertainment learning the details of

    Warner Music Group’s agreement with Spotify or from Universal Music Group learning the terms

    of Sony Music Entertainment’s agreement with Apple. Providing these agreements to Mr.

    Coleman does not impact that risk at all.

           Plaintiffs also do not explain how Mr. Coleman could use these agreements in his auditing

    work (again, assuming he willfully violated the Protective Order and did not already receive these

    agreements in connection with his auditing work). The agreements spell out the terms of how

    much the digital platforms pay Plaintiffs. The amount Plaintiffs in turn pay the artists is governed

    by separate artist agreements, which Mr. Coleman would already be provided in connection with

    an audit.

           Plaintiffs appear to be most concerned that the details of their financial relationships with

    Apple, Spotify, and other third-party platforms would be disclosed to their artists—artists who

    Plaintiffs are alleged to have systematically underpaid. Perhaps these agreements would cast light

    on the fact that Plaintiffs retain much more of the proceeds from digital streaming than they in turn

    pay to their artists. The class actions that Plaintiffs face, in addition to numerous other disputes,

    demonstrate that the prospect of artist backlash is real. But that risk exists independently from this

    case; it is based on Plaintiffs’ alleged wrongdoing against their artists. Charter should be permitted

    to provide these agreements to Mr. Coleman pursuant to the Protective Order so that Mr. Coleman

    can help Charter prepare its defense to Plaintiffs’ massive claims here.




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       d. Plaintiffs have no basis to presume Mr. Coleman will violate the non-disclosure
          agreements or his professional obligations.

           Plaintiffs also argue that because “Mr. Coleman routinely executes non-disclosure

    agreements with Plaintiffs[,] [i]t is difficult to imagine how Mr. Coleman could consult with BHN

    on issues relating to Plaintiffs’ artist and songwriter agreements, royalty calculations, or royalty

    practices without necessarily violating those non-disclosure agreements.” Mot. at 5. It is true that

    Mr. Coleman regularly executes non-disclosure agreements and Mr. Coleman intends to honor

    those agreements. Coleman Aff., ¶ 8. But this Motion is about whether the provision of documents

    Plaintiffs have designated HC-AEO to Mr. Coleman would “pose the risk of serious harm.”

    Plaintiffs’ objection has nothing to do with the provision of any such documents, let alone a risk

    associated with it. The objection should be rejected outright.

           It is also for this reason that Plaintiffs’ attempt to limit Mr. Coleman’s potential consulting

    and testimony on behalf of Charter, through an objection procedure set up regarding the provision

    of HC-AEO documents in this case, is improper. Plaintiffs have requested that Mr. Coleman sign

    an agreement that limits his ability to use “non-public” information he has learned from his prior

    audit engagements in this case. Mr. Coleman’s theoretical use of “non-public” information would

    be governed by non-disclosure agreements that may have covered his receipt of that information

    in the first instance. If there was no such agreement, it has lapsed, or is otherwise non-enforceable,

    then there is no bar to Mr. Coleman utilizing information he has learned over his nearly 50-year

    career in this case, whether as a consultant or a testifying expert. Further, and critically for

    purposes of Plaintiffs’ Motion, the Protective Order at issue has nothing to do with Mr. Coleman’s

    use of information he has learned from other engagements. Plaintiffs’ attempt to fabricate

    protections under the guise of an objection pursuant to the Protective Order should be rejected.




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              In addition, since Plaintiffs bear the burden to demonstrate the “risk of serious harm,” their

    claim that they find it “difficult to imagine” how Mr. Coleman could play a role in this case without

    violating a non-disclosure agreement rings hollow. Indeed, Plaintiffs provide no basis for their

    objection that Mr. Coleman may willfully violate these agreements. Putting aside the fact that this

    objection has nothing to do with the Protective Order at issue, there are myriad ways in which Mr.

    Coleman can use his experience to assist Charter in reviewing materials produced in this case,

    understanding the issues that music labels and publishers face, understanding the issues that artists

    face, and understanding how the industry operates. Mr. Coleman need not violate the specific

    terms of a non-disclosure agreement in which he entered with Plaintiffs by disclosing the details

    of a particular audit in order to assist Charter with its defense. Plaintiffs’ conclusory claim to the

    contrary should be rejected.

        II.      Charter’s Proposal Obviates Plaintiffs’ Objections

              Charter respectfully submits that Plaintiffs’ Motion should be denied in its entirety, as each

    objection is baseless. Plaintiffs’ interests are adequately protected by Mr. Coleman’s agreement

    to be bound by the Protective Order, Mr. Coleman’s independent professional and ethical

    obligations, and the additional proposals Charter offered on July 20, 2020 in an attempt to resolve

    this dispute. Charter and Mr. Coleman are prepared to immediately undertake these assurances so

    as to put Plaintiffs’ objections to rest.4

                                                 CONCLUSION

              Based on the foregoing, Plaintiffs’ Motion should be denied in its entirety.




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     Any attempt by Plaintiffs to supplement their Motion (as they indicated they may do) should be rejected,
    as Plaintiffs should have asserted all of their arguments in opposition to Mr. Coleman’s designation in their
    Motion.

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    Dated: July 30, 2020                             Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

            I certify that on July 30, 2020, I caused a true and correct copy of the foregoing document

    to be electronically filed with the Clerk of the Court via CM/ECF, which will send a notice of

    electronic filing to all counsel of record.


                                                  s/ Erin R. Ranahan
                                                     Erin R. Ranahan




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